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Exhibit 1.
Case 3:24-cv-30027-MGM Documént a 4 ABHednO02/4.4/24-.Page 2 of 6

erence #:
3260 Tillman Drive, Suite 75 3 Monarch
’ Bensalem, PA 19020 ference 32008896

Change Service Requested

Creditor: SYNCHRONY BANK

bey July 3, 2023 Additional Synchrony MasterCard®
\__ Information: Synchrony Bank

Choose the solution that works best for YOU.

Visit us at www.monarchrm.com
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fl

Paul Jones
79 THOMPSON ST
SPRINGFIELD, MA 01109-3921

We’re here to help. Contact us with any questions or concerns at 1-800-220-0605.

<> » MONARCH

Recovery Management, inc.

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Payment and Settlement Options are Available

At Monarch Recovery Management, we want to work together with
you to help solve your debt. For this reason, we have expanded our free payment
options to make this a quick and easy process. Monarch can also offer settlement discounts
with flexible repayment plans. Contact us today to hear more about these options.

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This is an attempt by a ‘debt collector to collect a debt. Any information obtained will be used for that
purpose. This communication is from a debt collector.

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Case 3:24-cv-30027-MGM Document 2-1 Filed 02/14/24 Page 3 of 6 een

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This is an attempt by a debt collector to-collect a debt. Any information obtained will be used for that
purpose. This communication is from a debt collector.

NOTICE OF IMPORTANT RIGHTS:
YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT
NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR ONLY TEN
(10) DAYS UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED OR DELIVERED WITHIN
SEVEN (7) DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY WRITING TO THE DEBT COLLECTOR.

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SETOPT 513168 MRM.WFD 00000082 Page 1 of 2
Case 3:24-cv-30027-MGM Document 2-1 Filed 02/14/24 Page 4 of 6

Exhibit 2.
Case 3:24-cv-30027-MGM Document 2-1 Filed 02/14/24 Page 5 of 6

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NOTICE OF VIRTUAL. DOCKET NUMBER Trial Court of Massachusetts eS

SMALL CLAIMS TRIAL 232350002694 District Court Department

CASE NAME Synchrony Bank vs. Paul Jones

ATTORNEY (OR PARTY) TO WHOM A COPY OF THIS NOTICE IS ISSUED COURT NAME, ADDRESS & TELEPHONE

Springfield District Court
Paul Jones

50 State Street
793 Thompson St PO Box 2421
Springfield, MA 01109

Springfield, MA 01101
(413)748-8600

DATE AND TIME OF SMALL CLAIM TRIAL COURT'S GENERAL EMAIL ADDRESS

springfielddccivil@jud.state.ma.us

JUDGE OR MAGISTRATE (if already assigned)

02/15/2024 10:00 AM

. ‘ al ; YOUR HEARING IS SCHEDULED TO BE HELD
Virtual Magistrate Trial - Small Claims BY VIDEO CONFERENCE

If you do not have access to the Internet or have reason
why this case should be scheduled for an in-person
appearance at the courthouse, or have any other reason
why this case shoud be rescheduled to a different date
or time; you must contact the clerk-magistrate's office by

HEARING TO BE HELD BY VIDEO CONFERENCE at least 3 days before the scheduled hearing to request
other arrangements.

TO THE PARTIES TO THIS CASE:

Enclosed is a copy of the small claim "Statement of Claim and Notice" form which the plaintiff who has brought this action has filed with the
court. The plaintiff named on this form has sued the defendant in small claims court for the amount and reasons stated on the notice form.

The purpose of this hearing notice is to inform you that this court has scheduled a VIRTUAL SMALL CLAIM TRIAL in the above captioned
small claims case on the date and time indicated above.

The scheduled hearing is to be held by VIDEO CONFERENCE, DO NOT APPEAR AT THE COURTHOUSE. The Trial Court uses the

ZOOM Application to conduct Small Claims Hearings. Information on how to access remote hearings can be found at https://www.mass.gov/
“o¢/guide-to-virtual-hearings/download.

You are required to participate in the scheduled Video Small Claims hearing to present your side of the case and to offer any witnesses or
other evidence that you wish. If you intend to offer written evidence, pictures or documents at the hearing, they must be e-mailed to the
cle-k-Magisivaié at the above court e-mail address under the subject "SMALL CLAIMS" at least 3 days in advance of scheduied hearing.
lf you have not previously provided an e-mail address, please contact the court to provide an e-mail address.

lf you require an interpreter, please contact the clerk's office as soon as you receive this notice for interpreter arrangements to be made.

Failure to contact the clerk-magistrate as indicated above, or participate in your scheduled virtual Small Claims trial may result in either
dismissal of the plaintiffs claim or entry of default against the defendant.

Video conferences conducted by the Trial Court are court hearings and you may not privately record the proceedings or take photos or
screenshots without prior permission of the Court.

Further information concerning small claims process and procedure can be found on the Trial Court website at: httos://www.mass.gov/small-

claims.

ZOOM ACCESS INFORMATION: MEETING NUMBER AND PASSWORD
ZOOMGOV.COM
MEETING ID.: 160 754 5303

If you have any questions, please call the Small Claims Dept. (413) 748-7977, (413) 748-8665, (413) 748-8668 or (413)
748-7979.

DATE ISSUED CLERK-MAGISTRATE
9/29/23 John S. Gay

ATENCION: ESTE ES UN AVISO OFICIAL DE LA CORTE. SI USTED NO SAVE LEER INGLES, OBTENGA UNA TRADUCCION.

DCO7S: 10/14/2020 www.mass.gov/courts Date/Time Printed:09-29-2023 10:34:13
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Ease 3°-24-cv-30627-MGM Document 2-1 Filed 02/14/24 Page 6 of 6

Date Filed: 9/26/2023 9:52 AM
District Court - Springfield

Dockei-NMumber:
STATEMENT OF SMALL CLAIM | POTNO Gxcomus™® | Trial Court of Massachusetts fp alee Sout cen
AND NOTICE ne 31.04 Small Claims Session =Ofile

NOTICE TO PLAINTIFF: You may file your small claim only in the court for the area where either the plaintiff or the defendant lives or has a place or
business or employment. A small claim against a landlord arising from the rental of'an apartment may ulso be brought where the apartment is located. You
may find it easier to enforce a decision in your favor if you bring your smal] claim where the defendant lives or works, but you are not required to do so.

COURT DIVISION WHERE THE PLAINTIFF IS FILING THIS CLAIM (Select Only One Court):

Springfield District Court
PLAINTIFF ENFORMATION: The person filing the claim is the plaintiff PLAINTIFF'S ATTORNEY (if any)
Pitt. Name: Synchrony Bank Atty. Name: Erin M. Reezck, Esq.
Address: 170 West Election Rd, Suite 125 Address: 89 Newbury Street, Suite 106
City/State/Zip: Draper, UT 84020 City/State/Zip: Danvers, MA 01923
Phone No.: Phone No.: 978-834-6600 BBO NO. 658898

DEFENDANT(S) INFORMATION: The person or corporation being sued is the defendant. If you are suing a company which is not a corporation, you
should name the owner(s) doing business as the named company as the defendant: the names of the owner(s) can be obtained from the City or Town Clerk
where the company's offices arc located. If you are suing a company which is a corporation, you must have the exact legal name. You can find this
information from the Corporate Records Division of the Secretary of State's Office, One Ashburton Place, Room 1712, Boston, MA 02108.

Def. #1 Name: PAUL JONES Def. #2 Name:
Address: 79 THOMPSON ST Address:
City/State/Zip: SPRINGFIELD MA 0]109-3921 City/State/Zip:
Phone No.: 888/680-4667 Phone No.:

PLAINTIFF'S CLAIM: The Plaintiff claims that the Defendant(s) OWE $5,037.41 plus * $176.97 court costs for the following reasons.

On or about June 6, 2022, Defendant entered into a contract for the extension of credit with Synchrony Bank (Synchrony MasterCard®). Defendant
incurred charges on the account which was assigned account number ending 2518. Defendant breached the contract by failing to make payments due on ths
account pursuant to the terms of the contract. Defendant’s last payment toward the account was on October 23, 2022 in the amount of $150.00. Asa
result. Defendant’s account was charged off on May 7, 2023 with a balance of $5,037.41.

*Plaintiff seeks a Judgment for the balanced owed plus total costs of $ 176.97 . The total cost consists of the complaint filing fee plus the
efileMA fee.

SIGNATURE OF PLAINTIFF: X /s/ Erin M. Reczck Date: September 11, 2023

MEDIATION: Mediation of this claim may be available if both parties agree to discuss the matter with a mediator, who will assist the parties
in crying to resalve the dispute on mutually agreed to terms. The plaintiff must notify the court ifhe or she desires mediation; the defendant

may consent to mediation on the trial date. The plaintiff is willing to attempt to scttle this claim through mediation: & YES ONO

MILITARY AFFIDAVIT: The plaintiff states under the pains and penalties of perjury that the:
above defendant(s) is (are) not serving in the military and at present live(s) or works at the above address.

O above defendant(s) is (are) serving in the military. O [am unsure if the above defendant(s) is (are) in the military.

SIGNATURE OF PLAINTIFF; X /s‘ Erin M. Reczek Date: September | 1, 2023

INSTRUCTIONS TO PLAINTIFF; "By E-Filing this form, which includes the military affidavit, you certify chat the above information is true and
accurate. By completing this form, together with a payment of the filing fee, the form will bc sent to the court electronically. If you do not know
where to file your Smal) Claims case visit: www.mass.gov/courthousc-locator. Ifa claim arises out of plaintiff's trade or commerce, or for

assigned debt, you may be required lo complete and file a "Verification of Defendant's Address" form."

Efile: 6/5/2018 wwiw.mass.gov/courts 10/21/2019 9:51 AM
